   Case 18-12013-BFK          Doc 22   Filed 07/23/18 Entered 07/23/18 10:13:30          Desc Main
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                                 United States Bankruptcy Court
                                   Eastern District of Virginia
                                            Eastern
                                       ________________ Division

In re: Anthony F. Ford                                     Case Number ________________
                                                                       18-12013-BFK
       Kim A. Kieklak                                              7
                                                           Chapter ___
       Debtor(s)

                                    ORDER SETTING HEARING

TO:       Debtor(s)   Anthony F. Ford & Kim A. Kieklak
                      13812 Beaujolais Ct. Chantilly, VA 20151
          Attorney for Debtor(s) PRO SE
          Trustee                Kevin R. McCarthy McCarthy & White, 8508 Rehoboth Ct. Vienna,VA 22182
          United States Trustee John P. Fitzgerald, III 115 S.Union St, Rm 210 Alexandria, VA 22314

The Clerk has determined that the above-captioned debtor(s) has/have failed to cure certain
deficiency(ies) in this case. Therefore, a hearing will be held:

Date:     August 28, 2018
Time:     9:30am
Location: 200 S. Washington Street, Judge Kenney's Courtroom 1, 2nd Floor, Alexandria, VA 22314

The debtor(s) should appear at the hearing and explain why the bankruptcy case should not be
dismissed for failure to timely cure the following deficiency(ies):
Schedules A-I



If the debtor(s) fails to appear at the hearing, the above-captioned case will be dismissed.

NOTICE: Even if the debtor(s) files the required document(s) or makes the required payment(s),
the debtor(s) must still attend the hearing to explain why he/she/they failed to do so timely.

NOTICE IS FURTHER GIVEN that an outstanding balance of the filing fee in the amount of
$_________
    0.00   is due and owing to the Clerk of Court, payable as follows:
              due and payable immediately.

              $________ on ___________, $________ on __________, and $________on _________.

        July 23, 2018
Dated: _______________________                      William C. Redden, Clerk
                                                    United States Bankruptcy Court

                                                        /s/ Angela R. Jones
                                                    By: _____________________________
                                                                  Deputy Clerk

                                                    NOTICE OF JUDGMENT OR ORDER
                                                                       July 23, 2018
                                                    ENTERED ON DOCKET: __________________
[osethrgln ver. 07/18]
